Case 0:18-cv-62560-DPG Document 7 Entered on FLSD Docket 11/29/2018 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   Case No. 0:18-cv-62560-DPG

   CASSANDRA VALLIANOS, individually,
   and on behalf of all others similarly situated,

                  Plaintiff,

   v.

   ACURIAN, INC., a Delaware corporation,

                  Defendant.



                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Cassandra Vallianos

 hereby dismisses this action.

 Dated: November 29, 2018                      /s/ Avi R. Kaufman
                                               Avi R. Kaufman (FL Bar No. 84382)
                                               kaufman@kaufmanpa.com
                                               KAUFMAN P.A.
                                               400 NW 26th Street
                                               Miami, FL 33127
                                               Telephone: (305) 469-5881

                                               Stefan Coleman (FL Bar No. 30188)
                                               law@stefancoleman.com
                                               LAW OFFICES OF STEFAN COLEMAN, P.A.
                                               201 S. Biscayne Blvd, 28th Floor
                                               Miami, FL 33131
                                               Telephone: (877) 333-9427
                                               Facsimile: (888) 498-8946

                                               Attorneys for Plaintiff
Case 0:18-cv-62560-DPG Document 7 Entered on FLSD Docket 11/29/2018 Page 2 of 2



                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 29, 2018, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF, which is being served this day on all counsel

 of record via transmission of Notice of Electronic Filing generated by CM/ECF.

                                                    /s/ Avi R. Kaufman
                                                    Avi R. Kaufman
